      Case 3:12-cr-01913-JLS   Document 36   Filed 03/28/13   PageID.67   Page 1 of 1



                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
                                                                  13 ;' , 23 rll 3= 0 ,

UNITED STATES OF AMERICA,                    CASE NO. 12CR1913-JLS               '"   ; K




                         Plaintiff,

                 vs.                          JUDGMENT OF DISMISSAL
EVELYN INZUNZA (2),

                         Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

       an indictment has been filed in another case against the defendant and
       the Court has granted the motion of the Government for dismissal of
       this case, without prejudice; or

       the Court has dismissed the case for unnecessary delay; or

-X-    the Court has granted the motion of the Government for dismissal,
       without prejudice; or

       the Court has granted the motion of the defendant for a judgment of
       acquittal; or

       a jury has been waived, and the Court has found the defendant not
       guilty; or

       the jury has returned its verdict, finding the defendant not guilty;

-X-    of the offense(s) as charged in the Indictment:

       21:952, 960 and 963.



             IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: MARCH 26, 2013
                                               Nita L. Stormes
                                               U.S. Magistrate Judge
